                       Case 7:21-mj-04375-UA Document 2 Filed 04/22/21 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                    UNITED STATES DISTRICT COURT
                                                                 for the
                                                          District of &ROXPELD

                  United States of America                          )
                             v.                                     )
                                                                    )      Case No.
     Robert C. Chapman (AKA: Robert Erick)                          )
                DOB: 09/19/1970                                     )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                     January 6, 2021             in the county of                              in the
                         LQWKH'LVWULFWRI      &ROXPELD , the defendant(s) violated:
             Code Section                                                     Offense Description
        18 U.S.C. § 1752(a)(1) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        18 U.S.C. § 1752(a)(2) - Knowingly Entering or Remaining in any Restricted Building or Grounds
        Without Lawful Authority,
        40 U.S.C. § 5104(e)(2)(D) - Violent Entry and Disorderly Conduct on Capitol Grounds,
        40 U.S.C. § 5104(e)(2)(G) - Violent Entry and Disorderly Conduct on Capitol Grounds.
         This criminal complaint is based on these facts:
  6HHDWWDFKHGVWDWHPHQWRIIDFWV




         9
         u   Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                       Kenneth Kroll, Special Agent
                                                                                              Printed name and title

$WWHVWHGWRE\WKHDSSOLFDQWLQDFFRUGDQFHZLWKWKHUHTXLUHPHQWVRI)HG5&ULP3
E\WHOHSKRQH

Date:             04/13/2021
                                                                                                 Judge’s signature

City and state:                         :DVKLQJWRQ'&                     Robin M. Meriweather, U.S. Magistrate Judge
                                                                                              Printed name and title
